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 4   Attorney for Defendant
     DICKSON HUNG
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 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                       )   Case No.: 2:09-CR-00438-WBS
10                                                   )
                           Plaintiff,                )   STIPULATION AND [PROPOSED]
11                                                   )   ORDER TO CONTINUE STATUS
            vs.                                      )   CONFERENCE , AND TO EXCLUDE
12                                                   )   TIME PURSUANT TO THE SPEEDY
     DICKSON HUNG,                                   )   TRIAL ACT
13                                                   )
                           Defendant.                )
14                                                   )
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Heiko Coppola, Assistant United States Attorney, attorney for plaintiff, and
18   Michael E. Hansen, attorney for defendant Dickson Hung, that the previously-scheduled status
19   conference date of October 2, 2017, be vacated and the matter set for status conference on
20   December 18, 2017, at 9:00 a.m.
21          This continuance is requested because defense counsel needs additional time to review
22   discovery received in this case. Discovery provided to date exceeds 43,000 pages of written
23   discovery.
24          The Government concurs with this request.
25          Further, the parties agree and stipulate the ends of justice served by the granting of such
26   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
27   that time within which the trial of this case must be commenced under the Speedy Trial Act
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     Stipulation and [Proposed] Order to Continue Status Conference
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 1   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 2   Local Code T4 (to allow defense counsel time to prepare), from the date of the parties’
 3   stipulation, September 28, 2017, to and including December 18, 2017.
 4           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5           IT IS SO STIPULATED.
 6   Dated: September 28, 2017                            Respectfully submitted,
 7                                                        /s/ Michael E. Hansen
                                                          MICHAEL E. HANSEN
 8                                                        Attorney for Defendant
                                                          DICKSON HUNG
 9
     Dated: September 28, 2017                            PHILLIP A. TALBERT
10                                                        United States Attorney
11                                                        By: /s/ Michael E. Hansen for
                                                          HEIKO COPPOLA
12                                                        Assistant U.S. Attorney
                                                          Attorney for Plaintiff
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                                                 ORDER
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                     The Court, having received, read, and considered the stipulation of the parties,
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     and good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its
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     order. Based on the stipulation of the parties and the recitation of facts contained therein, the
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     Court finds that it is unreasonable to expect adequate preparation for pretrial proceedings and
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     trial itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
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     specifically finds that the failure to grant a continuance in this case would deny defense
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     counsel to this stipulation reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence. The Court finds that the ends of justice to be served by
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     granting the requested continuance outweigh the best interests of the public and the defendants
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     in a speedy trial.
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                     The Court orders that the time from the date of the parties’ stipulation,
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     Stipulation and [Proposed] Order to Continue Status Conference
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 1   September 28, 2017, to and including December 18, 2017, shall be excluded from computation
 2   of time within which the trial of this case must be commenced under the Speedy Trial Act,
 3   pursuant to 18 U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for
 4   defense counsel to prepare). It is further ordered that the October 2, 2017, status conference
 5   shall be continued until December 18, 2017, at 9:00 a.m.
 6          IT IS SO ORDERED.
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     Dated: September 29, 2017
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     Stipulation and [Proposed] Order to Continue Status Conference
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